     Case 4:22-md-03047-YGR        Document 1801-1     Filed 03/28/25   Page 1 of 3




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13
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14
                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
   IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 4:22-MD-03047-YGR
17 ADDICTION/PERSONAL INJURY
   PRODUCTS LIABILITY LITIGATION,                  MDL No. 3047
18
                                                   DECLARATION OF LAURA M. LOPEZ
19                                                 IN SUPPORT OF OMNIBUS SEALING
   THIS DOCUMENT RELATES TO ALL                    STIPULATION (MARCH 3, 2025 ORDER
20 ACTIONS                                         RESOLVING PRIVILEGE
                                                   DETERMINATION AS TO FOURTEEN
21                                                 SNAP DOCUMENTS)

22                                                 Judge: Honorable Yvonne Gonzalez Rogers
                                                   Magistrate Judge: Hon. Peter H. Kang
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                                                                    Case No. 4:22-MD-03047-YGR
                           DECLARATION OF LAURA M. LOPEZ IN SUPPORT OF
                     OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
     Case 4:22-md-03047-YGR          Document 1801-1         Filed 03/28/25     Page 2 of 3




 1                              DECLARATION OF LAURA M. LOPEZ

 2          I, Laura M. Lopez, declare and state as follows:

 3          1.      I am an attorney with the law firm Munger, Tolles and Olson and represent Snap

 4 Inc. (“Snap”) in the above-captioned case. This declaration is based on my personal knowledge. If

 5 called upon to do so, I could and would competently testify as follows.
 6          2.      The five exhibits referenced in the following chart are true and correct copies of the

 7 documents bearing the Bates numbers reflected in the chart. Redacted versions of these exhibits,

 8 along with other exhibits not at issue here, were previously filed under seal and unredacted

 9 versions were lodged with the Court for in camera review in connection with the Parties’ January

10 14, 2025 Joint Letter Brief Regarding Snap’s Assertion of Privilege in Connection with 14

11 Redacted Documents (ECF No. 1547). The Court granted the Parties’ Omnibus Stipulation to Seal
12 those exhibits in their entirety (ECF Nos. 1550, 1635, 1660).

13          3.      In connection with the Court’s March 3, 2025 Order Resolving Privilege

14 Determination As To Fourteen Snap Documents (“March 3, 2025 Order”) (ECF No. 1732), the

15 Court attached the five exhibits at issue with corrected redactions for attorney-client and work-

16 product privilege.

17          4.      Pursuant to the Court’s March 3, 2025 Order, Snap produced to Plaintiffs the five

18 exhibits at issue bearing the redactions as indicated by the Court.
19          5.      I have reviewed the documents Snap seeks to seal pursuant to the Court’s Order

20 Setting Sealing Procedures (ECF No. 341). Based on my review of the March 3, 2025 Order and

21 the five exhibits at issue in consultation with Snap, I understand there is good cause to seal the
22 following information:

23          Document                                       Basis for Sealing
24     Snap’s Exhibit B        This exhibit contains sensitive and confidential information about
       Bates: SNAP6913291      Snap’s internal ad review practices, advertising and business strategies,
25     ECF No. 1732-1          relationships with advertising partners, lens product development, and
                               public relations strategies. Disclosure of this information would provide
26
                               competitors with insight into Snap’s business that they would not
27                             otherwise have and thereby cause competitive harm to Snap.

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                                               -2-                 Case No. 4:22-MD-03047-YGR
                          DECLARATION OF LAURA M. LOPEZ IN SUPPORT OF
                    OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
     Case 4:22-md-03047-YGR           Document 1801-1         Filed 03/28/25      Page 3 of 3




 1           Document                                       Basis for Sealing
 2     Snap’s Exhibit D         This exhibit contains sensitive and confidential information about
       Bates: SNAP6928318       Snap’s internal moderation practices and business strategies. Disclosure
 3     ECF No. 1732-2           of this information would provide competitors with insight into Snap’s
                                business that they would not otherwise have and thereby cause
 4
                                competitive harm to Snap.
 5     Snap’s Exhibit F         This exhibit contains sensitive and confidential information about
       Bates: SNAP6955026       Snap’s internal policy enforcement mechanisms, account investigation
 6     ECF No. 1723-3           practices, and cooperation with law enforcement investigations.
                                Disclosure of this information would provide competitors with insight
 7                              into Snap’s practices that they would not otherwise have and thereby
                                cause competitive harm to Snap.
 8
       Snap’s Exhibit G         This exhibit contains sensitive and confidential information about
 9     Bates: SNAP6960749       Snap’s internal investigation practices and cooperation with law
       ECF No. 1732-4           enforcement investigations. Disclosure of this information would
10                              provide competitors with insight into Snap’s practices that they would
                                not otherwise have and thereby cause competitive harm to Snap.
11     Snap’s Exhibit H         This exhibit contains sensitive and confidential information about
12     Bates: SNAP6969803       Snap’s internal investigation practices, cooperation with law
       ECF No. 1732-5           enforcement investigations, and media and communications strategies.
13                              Disclosure of this information would provide competitors with insight
                                into Snap’s practices that they would not otherwise have and thereby
14                              cause competitive harm to Snap.
15
             I declare under penalty of perjury of the laws of the United States that the foregoing is true
16
      and correct.
17
             Executed on March 28, 2025.
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                                                By:          /s/ Laura M. Lopez
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                                                            LAURA M. LOPEZ
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                                                -3-                 Case No. 4:22-MD-03047-YGR
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